                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-23-PLR-SKL
 v.                                                    )
                                                       )
 JASON BOSTON                                          )


                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 28, 2015.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the thirteen-count

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

 containing methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) in exchange for

 the undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

 the plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

 in the plea agreement; the defendant understands the nature of the charge and penalties provided by

 law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute

 a mixture and substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(C) be accepted, the Court adjudicate defendant guilty of the lesser included offense of the

 charge in Count One of the Indictment, that is of conspiracy to distribute and possess with intent to



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 distribute a mixture and substance containing methamphetamine, in violation of 21 U.S.C. §§ 846

 and 841(b)(1)(C), and a decision on whether to accept the plea agreement be deferred until

 sentencing. I further RECOMMEND defendant remain in custody until sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.


                                                s/ fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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